      Case 3:18-cv-01907-B Document 22 Filed 11/12/18             Page 1 of 2 PageID 109




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 TONYA PALMER,                                §
                                              §
 Plaintiff,                                   §
                                              §
 v.                                           §             Case No.: 3:18-cv-01907
                                              §
 BLUESTEM BRANDS, INC.                        §
 D/B/A FINGERHUT,                             §
                                              §
 Defendant.                                   §

                          JOINT REPORT NAMING MEDIATOR

        Pursuant to this Honorable Court’s Scheduling Order (Dkt. #21), the Parties submit the

following Joint Report Naming Mediator.

        The parties propose that Jay Zeleskey of Zeleskey Mediations shall preside over any

mediation pertaining to this matter. The Parties will complete any mediation by April 12, 2019.



Dated: November 12, 2018

                                               s/ Justin P. Opitz
 s/ Nathan Volheim
                                               Justin P. Opitz
 Nathan C. Volheim, #6302103
                                               McGuireWoods LP
 Sulaiman Law Group, Ltd.
                                               200 McKinney Avenue, Suite 1400
 2500 South Highland Ave., Suite 200
                                               Dallas, TX 75201
 Lombard, Illinois 60148
                                               Phone: (214) 932-6471
 Phone: (630) 568-3056
                                               Fax: 214) 273-7487
 Facsimile: (630) 575-8188
                                               Email: jopitz@mcguirewoods.com
 Email: nvolheim@sulaimanlaw.com
                                               Attorney for Defendant
 Attorney for Plaintiff
   Case 3:18-cv-01907-B Document 22 Filed 11/12/18                  Page 2 of 2 PageID 110


                                  CERTIFICATE OF SERVICE

          I hereby certify that I today caused a copy of the foregoing document to be electronically

filed with the Clerk of Court using the CM/ECF system, which will be sent to all attorneys of

record.


                                                              s/ Nathan C. Volheim
                                                              Nathan C. Volheim
